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                                       IN THE UNITED STATES DISTRICT COURT
                                            FOR THE DISTRICT OF MINNESOTA

                                              CIVIL MOTION HEARING
 John Does, 1-2, et al,                              )                       COURT MINUTES
                                                     )   Case Number:       CV 18-1596 DWF/HB
                            Plaintiff(s)             )   Date:              February 22, 2019
                                                     )   Court Reporter:    Lynne Krenz
 v.                                                  )   Courthouse:        St. Paul
                                                     )   Courtroom:         7C
 Regents of the University                           )   Time Commenced: 10:12 AM
 of Minnesota, et al                                 )   Time Concluded: 11:27 AM
                                                     )   Sealed Time in Court:
                            Defendant(s).            )   Time in Court:     1 Hour & 15 Minutes



 APPEARANCES:

              Plaintiff: David J.S. Madgett
              Defendant: Carrie Ryan Gallia, Charles F. Webber, Brian J. Slovut


 PROCEEDINGS:

 Hearing on:

 MOTION to Dismiss/General Plaintiffs' Amended Complaint filed by Eric Kaler, Tina
 Marisam, Regents of the University of Minnesota. (Webber, Charles) (Doc. No. 24)

 IT IS ORDERED:

               Submitted
               Written order forthcoming.
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                                                                                        s/L. Sampson
                                                                                    Courtroom Deputy




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